Case 1-Ly-44250-€SS DOC Zo Filed iié//ly entered Life//iy 1sicols/

B2030 (Form 2030) (12/15)

United States Bankruptcy Court

Eastern District Of New York

Inre:

iates LL
4811 Associates LLC Case No, 19-44263

Debtor Chapter U1
DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
named debtor(s) and that compensation paid to me within one year before the filing of the petition in
bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
contemplation of or in connection with the bankruptcy case is as follows:

For legal services, I have agreed to accept.......... 00 cece eee cee teens $
Prior to the filing of this statement I have received. ........... 0.0.0.0. ae $ 2,500.00
Balance Due... ee etn eee e etree eee $

2. The source of the compensation paid to me was:

Debtor CI Other (specify)
3. The source of compensation to be paid to me is:
Debtor L] Other (specify)
4. have not agreed to share the above-disclosed compensation with any other person unless they are

members and associates of my law firm.

[J ] have agreed to share the above-disclosed compensation with a other person or persons who are not
members or associates of my law firm. A copy of the agreement, together with a list of the names of the
people sharing in the compensation, is attached.

5. Inreturn for the above-disclosed fee, ] have agreed to render legal service for all aspects of the bankruptcy
case, including:

a. Analysis of the debtor’ s financial situation, and rendering advice to the debtor in determining whether to
file a petition in bankruptcy;

b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
hearings thereof;
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d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

e. [Other provisions as needed]

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:

 

CERTIFICATION

I certify that the foregoing is a complete statement of any agreemenj or arrangement for payment to
me for representation of the debtor(s) in this ruptgy pro ing.
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11/27/2019 hor js
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Date Signature of Attorney

Windels Marx Lane & Mittendorf, LLP
Name of law firm

 

 

 

 
